        Case 1:18-cr-10013-RGS Document 126 Filed 03/15/19 Page 1 of 13



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA,

        Plaintiff,
                                                             Case No. 1:18-cr-10013-RGS
 v.

 Gary P. DeCicco,

        Defendant.


               DEFENDANT GARY DECICCO’S OPPOSITION TO
    GOVERNMENT’S MOTION FOR (1) REVOCATION OF RELEASE OF GARY
                  DECICCO PURSUANT TO 18 U.S.C. § 3148(b),
(2) PRETRIAL DETENTION OF DECICCO, PURSUANT TO 18 U.S.C. § 3148(b); AND
            (3) FORFEITURE OF DECICCO’S BAIL, PURSUANT TO
       RULE 46(f) OF THE FEDERAL RULES OF CRIMINAL PROCEDURE

       The Government seeks to revoke Defendant Gary DeCicco’s supervised release, detain

him pending trial, and forfeit his $50,000 bail without any evidence that he harmed anyone or

that he presents an ongoing danger to anyone. Mr. DeCicco has attempted to follow the

conditions of his release and presents no danger to the community. He respectfully suggests that

there is a set of conditions that can guarantee his appearance in court, as outlined in his Motion

to Modify Conditions.

I.     Background

       Mr. DeCicco is charged with various counts relating to an alleged mortgage and

insurance fraud scheme. The original Indictment in this case was filed shortly before a jury trial

at which Mr. DeCicco was acquitted on an unrelated extortion charge. See United States v.

DeCicco, No. 1:17-cr-10092-NMG. After his acquittal, the Court released Mr. DeCicco pending

trial in this matter. His conditions of release included, among other conditions, “[n]o new lines

of credit; [n]o transfer of assets > $1K w/o notice to USAO with the exception of ordinary
                                                -1-
        Case 1:18-cr-10013-RGS Document 126 Filed 03/15/19 Page 2 of 13



personal expenses; no buying or selling of assets in names of others; [d]o not hide or dissipate

assets.” See Docket No. 47. Gary is also required to “continue or actively seek employment . . .

as approved by PTS – No Real Estate Sales.” Id. Those conditions were subsequently modified

to allow Mr. DeCicco to sell assets after notice to the Government “of any accepted offer” with

an opportunity for the Government to object to the sale. See Docket No. 94. At a hearing on

modifying the conditions of Gary’s release, the Court confirmed that it would be unwieldy to

require notice during the negotiation stage of any proposed sale. Instead, the Court preferred to

require notice when the parties were “dealing with something concrete” and there was a “specific

deal that we’re working with.” 11/29/18 Tr. 8:15-18.

Return of Mr. DeCicco’s Corvette

       Prior to March 2017, long before the original Indictment in this case, Gary DeCicco

bought a Corvette from his friend Jeff Carroll. When Gary was detained pending trial on the

charges for which he was acquitted, he had the car registered to Lynnway Auto Sales, a

dealership that was attempting to a arrange a sale on Gary’s behalf.

       Gary was acquitted in his previous trial on June 12, 2018, and was released from custody.

In the interim, the Corvette had not sold, so Gary decided to take it off the market. Jeff Carroll

agreed to act as an intermediary for the transfer of the car back to Gary’s possession, as Gary

was precluded from dealing with the owner of Lynnway Auto by the conditions of his bail, as he

was listed as a potential witness in the case. Gary paid no money to regain possession of his

Corvette. Rather, Mr. Carroll transferred the title to Mr. DeCicco and personally paid the $1,250

in sales tax he—incorrectly—believed was due.




                                                -2-
         Case 1:18-cr-10013-RGS Document 126 Filed 03/15/19 Page 3 of 13



The Corvette is Damaged in an Accident

        On November 13, 2018, Gary was in an accident while driving the Corvette. Gary took

the Corvette to Cal’s Auto Body in Winthrop, where it remains in need of repair. GPS data

confirms that Gary then travelled to an Enterprise Rental Car location on Route 60 in Revere,

where Gary rented a car to drive in lieu of the Corvette. Based on its own assessment of the

damages, Commerce Insurance sent Mr. DeCicco a check in the amount of $7,138.78 to cover

the cost of repairs, plus approximately $500 for a rental car. Gary used $6,100 of the funds from

Commerce to acquire a used Cadillac for his daughter to drive. He did not put the car in his

daughter’s name as he did not want to transfer assets out of his name to his daughter. Mr.

DeCicco’s net worth remained the same after the transaction: he now has a damaged Corvette

and a used Cadillac rather than an undamaged Corvette.

        Commerce Insurance apparently also paid $400 to Cal’s Auto Body for the cost of towing

the car. After Cal’s Auto Body informed Commerce that the car had not been towed, Cal’s

returned the $400. None of this money benefitted or was intended to benefit Mr. DeCicco.

Thayer Avenue

        Pamela Avedisian, Mr. DeCicco’s co-defendant and mother of his daughter, Linda,

owned a 50% interest in a partnership that owned property located at 7 and 29 Thayer Avenue in

Revere, MA. Ms. Avedisian wanted to sell her interest in the property to raise funds to pay her

living expenses. Mr. Fautz was interested in purchasing the property. Ms. Avedisian, Anthony

and Joel DeLuca, her partners in the partnership which owned the property, and Mr. Fautz, the

buyer, were each represented by counsel. Mr. DeCicco, in an effort to assist Ms. Avedesian and

to attempt to gain funds to hire an attorney, assisted in the negotiation of the deal. He was not

paid for his services.


                                                -3-
        Case 1:18-cr-10013-RGS Document 126 Filed 03/15/19 Page 4 of 13



       In the course of negotiating the deal, Mr. DeCicco, who has extensive experience in

permitting and managing marinas, discussed the possibility of becoming a consultant to the

buyer of the property after the sale of the property had been consummated. No final agreement

was ever reached.

       Ms. Avedisian’s proposed sale of her property was discussed with this Court. See

11/29/18 Tr. 12:2-8. When the agreement became concrete and documents were signed, Ms.

Avedisian, through her attorney, sought permission of the Court to sell the property. See Docket

No. 107. The Court granted permission. See Docket No. 115. Despite the Court’s permission,

all but $25,000 of the funds due to Ms. Avedisian have yet to be transferred to her.

       Although Mr. DeCicco dealt primarily with Ms. Avedisian on this transaction through her

attorney, Mr. DiMento, he did have very minimal contact with Ms. Avedisian in order to connect

her personally with the buyer of the property. The contact was momentary and non-substantive.

II.    Argument

       Revocation of release is appropriate only if (1) the Court finds there is either “probable

cause to believe that the [Defendant] has committed a Federal, State, or local crime while on

release” or “clear and convincing evidence that the [Defendant] violated any other condition of

release,” and (2) the Court finds, based on the factors set forth in 18 U.S.C. § 3142(g), “there is

no condition or combination of conditions of release that will assure that the [Defendant] will not

flee or pose a danger to the safety of any other person or the community” or “the person is

unlikely to abide by any condition or combination of conditions of release.” See 18 U.S.C.

§ 3148(b). Although a finding of probable cause to believe that a Defendant has committed a

crime or violated a condition of release creates a rebuttable presumption that no set of conditions

will ensure that the Defendant poses no risk to the community, that presumption is readily

overcome if the Defendant produces “only ‘some evidence’ to rebut it.” See United States v.
                                                -4-
        Case 1:18-cr-10013-RGS Document 126 Filed 03/15/19 Page 5 of 13



Gennaco, 834 F. Supp. 2d 38, 40 (D. Mass. 2011) (quoting United States v. Dillon, 938 F.2d

1412, 1216 (1st Cir. 1991)). The Government retains the burden of persuasion, although the

rebutted presumption retains some weight. Gennaco, 834 F. Supp. 2d at 40.

       Revocation is unnecessary in this case. First, the Government has not proven that Mr.

DeCicco violated any laws. With respect to his conditions of release, the only condition that

there is proof he violated was having minimal contact with Ms. Avedisian. This technical

violation should not result in revocation. Second, it is clear that Mr. DeCicco is not a flight risk

or a danger to the community and a reasonable set of conditions exist that will adequately ensure

Mr. DeCicco’s compliance.

       A.      There is No Evidence That Mr. DeCicco Violated His Conditions of Release
               or Any Criminal Laws

       The Government’s motion is rife with speculation and inuendo, but short on any actual

evidence that Gary has violated his conditions of release or any federal laws.

               1.      Gary Did Not Purchase a Corvette for $20,000

       The Government alleges Gary purchased a Corvette from Boston Street Auto Sales for

$20,000 on August 17, 2018. The Government is mistaken. As Jeff Carroll has already

explained to Government agents, he sold the Corvette to Gary no later than March 2017, before

Gary was detained on the prior extortion charge. Jeff then helped return the car to Gary’s

possession after he was released from custody. Jeff, not Gary, mistakenly believed that sales

taxes were due, and Jeff paid those taxes. Despite the Government’s assertion that Gary was

evading taxes by, allegedly, purchasing a car, Jeff actually likely overpaid taxes by paying sales

taxes that were not owed.




                                                -5-
         Case 1:18-cr-10013-RGS Document 126 Filed 03/15/19 Page 6 of 13



                 2.       Gary Did Not Commit Insurance Fraud

        The Government does not dispute that Gary was in an accident that damaged the

Corvette. Indeed, the Corvette is damaged and is located at Cal’s Auto Body in Winthrop, where

it is available for inspection. Gary’s GPS data demonstrates that he visited a rental car agency on

the day of the accident.

        Instead, the Government surmises that Gary conspired to commit insurance fraud because

Cal’s Auto Body erroneously submitted a towing invoice to Gary’s insurer. Gary did not stand

to benefit from the towing claim, which was paid directly to Cal’s Auto Body. In any event,

Cal’s Auto Body has corrected the error and returned the payment. There is no evidence that

anyone at Cal’s Auto Body engaged in insurance fraud, let alone that Gary conspired with them

for no benefit to himself.

                 3.       Gary Did Not Transfer or Dissipate Assets

        The Government asserts that Gary’s purchase of a vehicle with a portion of the insurance

proceeds after his Corvette was damaged is a violation of Condition 7(s), which in relevant part

prohibits Gary from any “transfer of assets > $1K w/o notice to USAO with the exception of

ordinary personal expenses” or from “dissipat[ing] assets.” Docket No. 47. Gary purchased the

Cadillac for his daughter to use, but in an effort to comply with Condition 7(s), which also

requires that he not “buy[ ] or sell[ ] assets in names of others,” he purchased the Cadillac under

his own name. Contrary to the Government’s contention that this transaction was a clear

violation of Condition 7(s), it is not at all clear that Gary was required to provide notice to the

Government when using cash proceeds from an auto accident to acquire an asset. 1 Gary did not




1In any event, it is unlikely the Government would object to Gary using insurance proceeds to purchase another
vehicle after an accident, and the Government does not assert otherwise in its Motion.

                                                      -6-
         Case 1:18-cr-10013-RGS Document 126 Filed 03/15/19 Page 7 of 13



dissipate any assets. He did not “transfer” any assets. He exchanged money for a Cadillac,

which he still owns. The transaction is unlike frivolous spending on non-durable goods, which

ultimately take money out of the reach of the Government. In the event Gary is convicted and

the Government seeks forfeiture of substitute assets, the Cadillac remains among Gary’s assets

available for possible forfeiture.

                 4.      Gary Did Not Violate Any Conditions Concerning Employment or
                         Sales of Real Estate

        It is difficult to discern what aspects of the Thayer Ave deal the Government contends

violated Gary’s conditions of release. After all, the deal has now been finalized (with the

exception of the transfer of $200,000 to Ms. Avedisian), to which the Government assented. 2

Although the Government is plainly suspicious of the deal, as it is of everything Gary does, it has

not identified any actual violations of Gary’s release conditions in connection with the sale.

        To the extent the Government claims the sale itself violated any of Gary’s conditions of

release, the Government has simply misunderstood those conditions. Gary is not subject to a

blanket prohibition on “participating in real estate sales.” Gov. Mot. at 11. He is prohibited

from “employment” without the prior approval of Probation, and may not be employed in “Real

Estate Sales.” See Docket No. 47. As the Government described Condition 7(b) at Gary’s

detention hearing, “whatever employment he has should not involve buying or selling real estate

or businesses or anything like that.” 6/13/18 Tr. 8:14-16. Gary has adhered to that condition,

working at a marina and avoiding any employment in real estate sales. Gary was not employed

by any party to the Thayer Avenue deal. He negotiated the deal on behalf of the mother of his

daughter, and received no remuneration for his role in the transaction.



2The Government did, however, seek a condition that no money from the sale benefit Mr. DeCicco. That condition
will be the subject of another motion.

                                                    -7-
         Case 1:18-cr-10013-RGS Document 126 Filed 03/15/19 Page 8 of 13



        Nor did Gary “fail to provide notice” to the Government regarding the Thayer Avenue

deal. 3 Mot. at 3. As the Court made clear, there is no reason for Gary to notify the Government

or the Court about any proposed transactions until they are in the final stages. 11/29/18 Tr. 8:15-

18. To require otherwise would waste a good deal of the Government’s and the Court’s time.

The deal was disclosed to both the Government and the Court at the appropriate time. 11/29/18

Tr. 12:4-8.

        The Government likewise mischaracterizes Gary’s conditions of release in arguing that

Gary violated the prohibition on selling assets in the names of others. Mot. at 11. This condition

is intended to prohibit Gary from selling his assets under the names of other individuals. That is

again made clear by the Government’s own description of the condition. The Government stated

at the detention hearing that Gary is prohibited from “buying or selling of assets in the names of

others and no hiding or dissipating of assets.” 6/13/18 Tr. 8:8-9. In other words, the prohibition

on buying and selling is tied to the prohibition on dissipating assets. Gary is not permitted to

dissipate his own assets, whether by selling them in his name or by selling them under the names

of other individuals. Gary did not sell his own asset in the Thayer Avenue deal. Ms.

Avedisian’s lawyer has confirmed to the Court that the property belonged to his client. 11/29/18

Tr. 12:4-8.

        Finally, the Government has failed to show that Gary violated any condition of release

when he discussed a possible consulting agreement with the Thayer Avenue buyer. The




3 The Government also insinuates that there is something sinister about the timing of prior counsel’s motions to
withdraw, which were filed the same day the Government first inquired about the Thayer Ave deal. This pure
speculation on the part of the Government is an excellent example of how deep the Government is digging to find a
reason – any reason – to detain Gary after his acquittal in 2018. As the Court is aware, an ex parte hearing on the
motions to withdraw was held on August 16, 2018, and counsel’s stated reasons for withdrawing had nothing to do
with the Thayer Avenue transaction.

                                                       -8-
        Case 1:18-cr-10013-RGS Document 126 Filed 03/15/19 Page 9 of 13



Government mischaracterizes that agreement as “a payment related to the sale,” Mot. at 12, but it

was in fact a separate proposed agreement whereby Gary would be paid for consulting services

in the process of developing the property after the sale of the property, as is evidenced by the fact

that no agreement with Mr. DeCicco was in place at the time of the sale and the terms of any

consulting agreement were never finalized or agreed. Nor is there any evidence that Gary sought

the consulting agreement in an attempt to evade taxes. The contemplated agreement would have

been documented and payments to Gary would be subject to a 1099.

               5.      The Government’s Remaining Specious Allegations Do Not Warrant
                       Detention

       The Government’s final two allegations do not warrant revoking Gary’s release. The

Government contends Gary has had contact with his co-defendant, who is also his ex-girlfriend

and the mother of his child. It is almost impossible for Gary to avoid having any contact at all

with his daughter’s mother, particularly indirect contact. His daughter works for Gary and lives

with her mother – some incidental contact is inevitable. Mr. DeCicco is separately moving to

remove this condition, which is neither necessary nor feasible.

       The Government’s last allegation is frankly bizarre, and a further example of the lengths

it is willing to go to detain Gary. The Government alleges Gary had a discussion with the

Thayer Ave buyer in which he threatened to sue the prosecutor for interfering with the

transaction, and asked the buyer to sign a statement stating that the Government had contacted

him to interfere with the sale. Astoundingly, the Government considers this conversation, if it

even occurred, to be an attempt to suborn perjury and to obstruct justice merely because the

Government disagrees with Gary on the facts. There is no evidence that Gary ever asked anyone

to sign a statement that Gary knew or believed to be false. The Government did contact the

buyer, which did delay the transaction and continues to do so, whether intentionally or not. No

                                                -9-
        Case 1:18-cr-10013-RGS Document 126 Filed 03/15/19 Page 10 of 13



prosecutor reasonably could be threatened by, and no investigation could be impeded by, such an

idle remark, which is unlikely to go anywhere in light of prosecutor’s immunity from suit.

       B.      Detention is Not Warranted in this Case

       Even if Gary had violated the law or any of his conditions of release, detention is not a

foregone conclusion. Detention is unwarranted unless the Court also finds, based on the factors

set forth in 18 U.S.C. § 3142(g), there is no set of conditions of release that will reasonably

assure Gary “will not flee or pose a danger to the safety of any other person or the community”

or that Gary “is unlikely to abide by any condition or combination of conditions of release.” See

18 U.S.C. § 3148(b). Pretrial detention is disfavored, and the Congress “clear[ly] inten[ded] that

only a limited number of defendants be subject to pretrial detention.” United States v. Tortora,

922 F.2d 880, 884 (1st Cir. 1990). There is no reason to think that Gary is a risk of flight or a

danger to the community. Moreover, Gary is likely to continue to abide by a reasonable set of

conditions of release.

               1.        Gary Is Not a Risk of Flight and Is Not a Danger to the Community

       There is no reason to think that Gary would flee, and the Government does not suggest

otherwise. Gary is a lifelong Massachusetts resident with strong ties to the community. See 18

U.S.C. § 3142(g)(3)(A). His two daughters live in the district. Gary also owns a business in

Winthrop and holds significant real estate in the Boston area. Notably, Gary has stood trial on

two prior occasions, resulting in an acquittal or dismissal of the most serious charges, and he has

always appeared. Gary is eager to clear his name once again after a trial on this newest set of

charges, and he will be present in court when required.

       Moreover, Gary is not a danger to the community. One of the factors for the Court to

consider is “the nature and circumstances of the offense charged, including whether the offense

is a crime of violence.” 18 U.S.C. § 3142(g)(1). Gary is not charged with a crime of violence, as
                                                - 10 -
        Case 1:18-cr-10013-RGS Document 126 Filed 03/15/19 Page 11 of 13



the Government acknowledges. Instead, the Government’s sole argument that Gary presents a

risk of physical harm to anyone is that he was previously accused of extortion. The Government

cannot ask the Court to forego its own assessment of whether Gary presents a danger to the

community, and simply adopt the detention decision of another Court in a different matter, in

which Gary was acquitted. The Government criticizes Gary for not contesting its allegations of

violence in that case, but in fact he did contest all allegations of criminal conduct by entering a

plea of not guilty to the charges. Of course, it was the Government that bore the burden of proof.

The Government failed to prove its case and Gary was acquitted in record time. Although the

Government has clearly been investigating him ever since his acquittal, it makes no allegation

that Gary has engaged in violence of any kind since his release. Gary should not be detained in

this matter simply because he was detained pending trial on unrelated charges, of which he was

acquitted, without any evidence that he has engaged in violent behavior since that time.

       Acknowledging it has no evidence that Gary presents a risk of violence, the Government

principally argues that potential economic—not physical—harm to the community warrants

pretrial detention. The dangerousness inquiry is not a question of whether the safety of the

community can be “absolutely guaranteed,” but rather whether it can be “reasonably assured.”

See Tortora, 922 F.2d at 884. Although economic harm can justify pretrial detention, “most

cases considering economic danger either find the evidence lacking or ultimately denied bail

based on flight risk,” a factor that is not at issue in Gary’s case. See United States v. Possino,

No. CR 13-00048-SVW-3(JEM), 2013 WL 1415108, at *8 (C.D. Cal. Apr. 8, 2013).

       The evidence that Gary presents an economic danger is scant at best. The Government’s

primary allegation of “economic harm” is that Gary purportedly transferred assets without the

Government’s permission and attempted to “conduct business transactions” through his co-


                                                - 11 -
         Case 1:18-cr-10013-RGS Document 126 Filed 03/15/19 Page 12 of 13



Defendant. Mot. at 13. Although those allegations, if true, might violate Gary’s conditions of

release, they are not allegations that Gary inflicted economic harm on anyone in the community.

Indeed, although the Court in Persaud (which the Government cites in its brief) recognized that

economic danger could warrant detention, it questioned why “extensive financial disclosures are

reasonably necessary to ensure Defendant’s appearance or to protect the community.” United

States v. Persaud, No. 05-cr-368, 2007 WL 1074906, at *1 (W.D.N.Y. Apr. 5, 2007). Likewise,

the Government’s assertion that Gary attempted to obtain funding “under the table” through

unspecified “various nefarious means” is too vague and conclusory to justify depriving Gary of

his liberty.

                2.      Gary Can and Will Abide by a Reasonable Combination of
                        Conditions of Release

         There exists a reasonable set of conditions that will ensure Gary’s presence at trial

without an undue deprivation of his liberty. The Court has already imposed a significant bail

package. Although Gary believes a few modifications are appropriate as detailed in his separate

motion, there is no reason to believe that he cannot abide by a reasonable set of conditions.

                                           CONCLUSION

         For the foregoing reasons, the Court should deny the Government’s Motion for

Revocation of Release of Gary DeCicco Pursuant to 18 U.S.C. § 3148(b), (2) Pretrial Detention

of DeCicco, Pursuant to 18 U.S.C. § 3148(b), and (3) Forfeiture of DeCicco’s Bail, Pursuant to

Rule 46(f) of the Federal Rules of Criminal Procedure.



Dated: March 15, 2019                          Respectfully submitted,

                                               GARY DECICCO

                                               By his attorneys,


                                                - 12 -
       Case 1:18-cr-10013-RGS Document 126 Filed 03/15/19 Page 13 of 13



                                           /s/ Tracy A. Miner
                                           Tracy A. Miner (BBO No. 547137)
                                           Miner Orkand Siddall LLP
                                           470 Atlantic Ave, 4th Floor
                                           Boston, MA 02110
                                           Tel.: (617) 273-8377
                                           Fax: (617) 273-8004
                                           tminer@mosllp.com



                               CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was served by ECF on counsel for the
Government on March 15, 2019.

                                           /s/ Tracy A. Miner
                                           Tracy A. Miner




                                            - 13 -
